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                             United States District Court
                                         for the
                             Southern District of Florida


    United States of America,              )
    Plaintiff                              )
                                           )
    v.                                     ) Criminal Case No. 16-20549-CR-Scola
                                           )
    Philip Esformes,                       )
    Defendant.                             )




                       Order Resetting Sentencing Hearing

         This matter is before the Court pursuant to the Defendant’s Unopposed
   Motion to Hold Sentencing on September 12, 2019, filed September 6, 2019, it
   is hereby
         Ordered and Adjudged that the Defendant’s Motion (ECF No. 406) is
   granted. The sentencing hearing presently set for September 11 and 12, 2019
   at 9:00 a.m. will be held on Thursday, September 12, 2019 at 8:30 a.m.
         Done and Ordered at Miami, Florida on September 6, 2019.



                                               ___________________________________
                                               UNITED STATES DISTRICT JUDGE
                                               ROBERT N. SCOLA, JR.


   cc:   Counsel of record
